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                      UNITED STATES DISTRICT COURT
                                 FOR THE
                           DISTRICT OF VERMONT
UNITED STATES OF AMERICA           :
                                   :
                                   :       Case No. 2:13-cr-14-3
          v.                       :
                                   :
JAMES NASTRI,                      :
                                   :
                    Defendant.     :


                      Memorandum Opinion and Order

       The parties have submitted several pretrial motions.                This

memorandum and order addresses the Government’s Motions in

Limine, ECF No. 304, and Defendant’s Motions in Limine, ECF No.

324.

I. Government’s Motions in Limine

       The Government has filed several motions in limine.             First,

the Government seeks to admit evidence of Nastri’s other alleged

criminal activity, including the conspiracy’s distribution of

drugs in addition to heroin in Vermont and in Maine, and

evidence of Defendant’s attempts to acquire narcotics to sell in

jail while incarcerated for this charge.          The Government has

also moved to exclude references to witnesses’ child custody

matters during cross-examination.          Finally, the Government moves

to admit evidence of Nastri’s prior felony drug convictions as

impeachment if he testifies.

  A. Evidence of other criminal activity
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     The Government seeks to introduce evidence of Nastri’s

alleged additional criminal activity including (a) the

conspiracy’s distribution of crack and powder cocaine and

prescription pills (in addition to heroin) in Vermont; (b) the

conspiracy’s trafficking in crack and powder cocaine and

prescription pills in Maine during and after the charged period

of heroin distribution in Vermont; and (c) Nastri’s alleged

attempts to acquire narcotics to sell in jail.            The Government

argues that this evidence is intrinsically relevant to the

charged offense, or, in the alternative, that it is admissible

under Fed. R. Evid. 404(b)(2).

     Evidence of an uncharged crime is not “other act” evidence

proscribed by Rule 404(b)(1) if it “(1) arose out of same

transaction or series of transactions; (2) is inextricably

intertwined with the evidence regarding the charged offense; or

(3) is necessary to complete the story of the crime on trial.”

United States v. Gonzalez, 110 F.3d 936, 942 (2d Cir.

1997)(internal quotations omitted).       Evidence falling within

these categories may be admitted without regard to Rule 404(b).

In conspiracy cases, the Second Circuit has found other acts

evidence admissible to “inform the jury of the background of the

conspiracy charged, to complete the story of the crimes charged,

and to help explain to the jury how the illegal relationship

between the participants in the crime developed.”            United States

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v. Williams, 205 F.3d 23, 33-34 (2d Cir. 2000)(quoting United

States v. Pitre, 960 F.2d 1112, 1119 (2d Cir. 1992)).

     In the alternative, the Government seeks to admit the

evidence under Rule 404(b)(2), which provides that evidence of

other acts may be admissible to prove “motive, intent,

preparation, plan, knowledge, identity, absence of mistake, or

lack of accident.”    Fed. R. Evid. 404(b).         The Second Circuit

follows “an inclusionary rule, allowing the admission of such

evidence for any purpose other than to show a defendant's

criminal propensity, as long as the evidence is relevant and

satisfies the probative-prejudice balancing test of Rule 403 of

the Federal Rules of Evidence.”          United States v. Inserra, 34

F.3d 83, 89 (2d Cir. 1994).

       1. Evidence of Trafficking in Other Drugs

     Defendant Nastri has been charged with conspiracy to

distribute heroin.    The Government seeks to introduce evidence

regarding the alleged conspiracy’s trafficking in other illegal

substances beyond heroin, such as crack and powder cocaine and

prescription drugs.       The Government seeks to introduce this

evidence for multiple reasons.       The trafficking of other drugs

“arose out of the same transaction or series of transactions” as

it occurred alongside the heroin trafficking and involved the

same conspirators.    Gonzalez, 110 F.3d at 942.            The Government

contends that it would therefore be impossible to disentangle

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evidence of other drug trafficking from evidence relating only

to heroin trafficking, and that doing so would leave the jury

with an “incomplete, distorted narrative” of the alleged

conspiracy’s activities.     Because the heroin trafficking

occurred alongside trafficking in other substances, admission of

this evidence would “enabl[e] the jury to understand the

complete story of the crimes charged.”        United States v.

Mercado, 573 F.3d 138, 141 (2d Cir. 2009) (quotations omitted).

As a result, it is “inextricably intertwined” with the evidence

of the charged offense, therefore making it admissible evidence

under Gonzalez.   110 F.3d at 942.       The Court therefore finds

that this evidence is intrinsically relevant to the charged

offense such to make its admission appropriate.

     Furthermore, the probative value of this evidence outweighs

its potential prejudicial effect such to satisfy the Rule 403

balancing test.   The prejudicial effect of the evidence would

not outweigh its probative value because it concerns conduct

that is equally or less serious than the charged conduct.                See

Mercado, 573 F.3d at 141-42 (finding evidence of uncharged gun

crime satisfied Rule 403 with respect to count involving

possession of firearm because the evidence was “not especially

worse or shocking than the transactions charged”).            Defendant

argues that references to other drugs (in particular, crack

cocaine) would be prejudicial because of the public’s negative

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associations with these drugs.        However, any concerns about

negative public associations apply equally to the heroin trade,

the conduct actually charged.        The evidence of other drug

trafficking therefore satisfies the probative-prejudice

balancing test under Rule 403.1

         2. Evidence of Drug Trafficking in Maine

      The First Superseding Indictment charges Nastri with

conspiring to distribute heroin in Vermont “and elsewhere” from

Spring 2011 to April 2013.       The Government also seeks to admit

evidence that the conspiracy trafficked in heroin and other

drugs in Maine during and after the time the conspiracy occurred

in Vermont.    This evidence is admissible under Gonzalez for

largely the same reasons as the evidence of other drug

trafficking in Vermont: the sales in Maine were part of the same

series of drug transactions and involved some of the same

conspirators, and therefore “arose out of the same transaction

or series of transactions;” evidence of these sales is

“inextricably linked” with the evidence of the charged offense

(as the charged offense includes conduct “elsewhere”); and the

evidence helps “complete the story of the crime on trial”

because the evidence regarding Nastri’s activity in Maine

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  The Defendant proposes in the alternative that if the Court admits the
evidence of other drug trafficking, all references to specific drugs (other
than heroin) should be omitted, i.e., that references to crack cocaine or
prescription drugs should be reduced to “illicit substances.” Again, as the
Court finds that negative associations with other drugs are not more harmful
than references to heroin such to make such an instruction necessary.

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explains why his conduct in Vermont did not span the entire

conspiracy period.       Finally, this evidence is particularly

relevant to the conspiracy because it helps “explain to the jury

how the illegal relationship between the participants in the

crime developed”; several of the co-conspirators, including

Nicole Rivers and Raven Peres, served as drug distributors in

Maine.    Thus, evidence of drug trafficking in Maine is also

admissible under Rule 404(b).

     This evidence also meets the requirements of Rule 403

because the alleged conduct that took place in Maine is

essentially identical to the Vermont conduct.                Thus, it would

not be unfairly prejudicial to admit this evidence as any

prejudicial effect would not outweigh its probative value.

         3. Letters to Laura Urban

     The Government seeks to admit letters written by Nastri

while in jail to Laura Urban, one of his girlfriends.                These

letters discuss Nastri’s concern about his co-conspirators’

cooperation with law enforcement and urge Urban to smuggle him

narcotics to sell to other inmates while incarcerated.                 The

Government argues that the letters are admissible as to the

discussion about co-conspirators because this information is

“intrinsically relevant” to the conspiracy as it demonstrates

the nature of the connection between Nastri and Urban, as well

as other conspirators mentioned in the letters.               The letters are

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also admissible under Rule 404(b) to prove motive, plan,

identity, and intent with respect to the charged conspiracy, as

they speak to Nastri’s complicity in the scheme and his ongoing

intent to sell narcotics while imprisoned.

     Furthermore, the letters satisfy the Rule 403 requirement

because they are especially probative.        At jury selection,

defense counsel indicated that the defense’s strategy would

focus on the credibility of the cooperating witnesses.             This

makes letters written by the Defendant concerning his knowledge

of the offense, his relationship with Laura Urban and others in

the conspiracy, and his efforts to stop these co-conspirators

from cooperating with the Government especially probative.               By

contrast, admission of the evidence would not be unfairly

prejudicial as it regards conduct equivalent to the charged

offense.   The letters are therefore highly relevant and may be

introduced as evidence at trial.

  B. References to Witnesses’ Child Custody Matters During
     Cross-Examination
     In addition to its motions to admit evidence, the

Government seeks to exclude certain references during cross-

examination of its witnesses.      The Government plans to call two

witnesses (both co-conspirators) who are currently facing child

custody matters.   The Government seeks to exclude evidence of

these matters on the grounds that they have no bearing on the



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witnesses’ character for truthfulness under Rule 608(b), would

inflame and distract jurors, and would cause unfair prejudice to

the Government.   Rule 608(b) allows specific instances of

conduct to be inquired into on cross-examination if they are

probative of the witness’s character for truthfulness or

untruthfulness.   The witnesses’ loss of custody and the reasons

therefore are plainly relevant to their character for

truthfulness, particularly as the loss of custody is likely

related to the witnesses’ drug use and coinciding

untruthfulness, as well as their motivation for testifying for

the Government.   Thus, the Court denies the Government’s motion

to exclude this evidence and will allow references to these

matters to be made on cross-examination for impeachment

purposes.

  C. Evidence of Nastri’s Prior Felony Drug Convictions

     The Government’s final motion in limine is to admit

evidence of Defendant’s prior felony drug convictions as

impeachment if he testifies.     The Defendant does not oppose this

motion.   Under Rule 609, evidence of a criminal conviction may

be used to attack a witnesses’s character for truthfulness if

the conviction was for a felony less than ten years old and the

probative value of the evidence outweighs its prejudicial

effect.   In this case, Nastri has sustained two felony narcotics

convictions within the ten-year time frame: a 2006 federal

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conviction for important of marijuana and a 2003 felony

conviction for heroin possession.          These two events are

probative as to Nastri’s truthfulness, as the prior drug

convictions can be highly probative to impeach the testimony of

a defendant on trial for narcotics charges.           See United States

v. Ortiz, 553 F.2d 782, 784 (2d Cir. 1977) (finding narcotics

conviction probative of credibility because “narcotics

trafficker lives a life of secrecy” and is “prepared to say

whatever is required by the demands of the moment, whether the

trust or a lie”).      The Second Circuit has found smuggling

convictions to be particularly probative of credibility.               See

United States v. Hayes, 553 F.2d 824, 828 (2d Cir. 1977)

(finding smuggling “ranks relatively high on the scale of

veracity-related crimes”).

      The probative value of the introducing these convictions is

not outweighed by their prejudicial value.           In fact, as both

convictions are less serious than the charged offense (as the

smuggling conviction involved marijuana and the heroin-related

offense was for possession), neither would be especially

prejudicial.    The Court therefore rules that the Government may

impeach Nastri with his prior convictions if he takes the stand.2

II.   Defendant’s Motions in Limine

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  This ruling is likely irrelevant, however, as defense counsel stated at jury
selection that he did not intend to call any witnesses and that the case
would be about the credibility of the Government’s witnesses. If the
Defendant does not testify, the prior convictions may not be introduced.

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     In addition to opposing the Government’s motions, Defendant

has filed several additional motions in limine.           He seeks an

order compelling production of prosecutors’ notes from witness

interviews; exclusion of evidence concerning August 13, 2012,

murders in Bangor, Maine; and evidence concerning the death of

Ryan Mortin-Lane.

  A. Production of Prosecutors’ Notes from Interviews

     Defendant seeks an Order from the Court compelling the

Government to produce copies of notes it took during interviews

with the witnesses it intends to call at trial.           The motion is

premised on the provision of the Jencks Act allowing the Court

to compel the prosecution to turn over transcriptions

constituting a “substantially verbatim recital of an oral

statement made by said witness and recorded contemporaneously

with the making of such oral statement.”         18 U.S.C. §

3500(e)(2).    The Court denies this motion on several bases.

First, the Jencks Act provides that such statements may be

sought only after the witness has testified on direct

examination.    Id. § 3500(a).    Thus the motion is premature.

However, even if timely, the motion would be denied for two

separate reasons.    Prosecutors’ notes do not constitute a

“substantially verbatim recital” of an oral statement and,

moreover, these notes are likely to implicate significant



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attorney work product (and are therefore privileged).              The Court

thus denies the motion to compel.

  B. Evidence Concerning August 13, 2012, Murders in Bangor,
     Maine
     Defendant seeks to exclude mention of three murders that

occurred during Summer 2012 in Bangor, Maine.             The victims,

Nicole Lugdon, Daniel Borders, and Lucas Tuscano, were known to

Defendant Nastri and to co-conspirator Nicole Rivers; however,

there is no indication that Nastri was involved in any of these

murders.   Nastri thus seeks to exclude references to the murders

on the grounds that their prejudicial impact would exceed any

probative value.    The Court finds that the significant

prejudicial effect that reference to these incidents would cause

far outweighs any minimal probative value, as the crimes are

unrelated to the charged offenses.       Moreover, reference to these

crimes is likely to mislead or confuse the jury.             The Court

therefore excludes the evidence pursuant to Rule 403.

  C. Evidence Concerning Death of Ryan Mortin-Lane

     The Defendant’s final motion in limine seeks to exclude

evidence concerning the death of Ryan Mortin-Lane, an individual

who allegedly sold drugs for Nastri.        According to the Defense,

Mortin-Lane was a heroin addict who was shot and killed while

committing a residential burglary in Vermont.             As with the Maine

murders, Nastri argues that the prejudicial effects of this



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evidence would outweigh its probative value.          The probative

value of this evidence may be more significant than that of the

Maine evidence because it is arguably relevant to the instant

charges (as Mortin-Lane was allegedly involved in the

conspiracy); however, its probative value is still minimal

because the fact of his death is irrelevant to the conspiracy

and, moreover, Mortin-Lane’s involvement in the conspiracy was

insubstantial.    On the other hand, any introduction of evidence

related to Mortin-Lane’s death would be highly prejudicial: it

involves violence, which could unfairly prejudice Nastri by

association, and evidence of a completely unrelated crime would

confuse and mislead the jury.      Evidence of Mortin-Lane’s death

is therefore excluded under Rule 403.

III. Conclusion

     For the reasons stated above, both the Government’s Motions

in Limine and Defendant’s Motions in Limine are denied in part

and granted in part.      The Government’s motion to admit evidence

of other criminal activity is granted; the motion to exclude

reference to witnesses’ child custody matters during cross-

examination is denied; and the motion to admit evidence of

Nastri’s prior felony drug convictions as impeachment if he

testifies is granted.      Defendant’s motion for an order

compelling production of prosecutor’s notes from interviews with

trial witnesses is denied; the motion to exclude evidence

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concerning the August 13, 2012, murders in Bangor, Maine, is

granted; the motion to exclude evidence concerning the death of

Ryan Mortin-Lane is granted.



     DATED at Burlington, in the District of Vermont, this 21st

day of May, 2014.



                                  /s/ William K. Sessions III
                                  William K. Sessions III
                                  District Court Judge




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